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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FEDERAL NATIONAL MORTGAGE                                   )
ASSOCIATION (“FANNIE MAE”), A                               )
CORPORATION ORGANIZED AND                                   )
EXISTING UNDER THE LAWS OF THE                              )      14-cv-4664
UNITED STATES OF AMERICA,                                   )
                                                            )      Hon. Andrea Wood
               Plaintiff,                                   )
                                                            )      Magistrate Honorable
v.                                                          )      Sidney I. Schenkier
                                                            )
GEORGE L. OBRADOVICH;                                       )
JENNIFER M. OBRADOVICH; and                                 )
UNKNOWN ONWERS and                                          )
NON-RECORD CLAIMANTS,                                       )
                                                            )
               Defendants.                                  )

RENEWED MOTION FOR SUMMARY JUDGMENT ON PLAINTIFF’S COMPLAINT

        Now comes Plaintiff Fannie Mae, by and through its attorneys, Johnson, Blumberg &

Associates, LLC, and in support of its Motion states as follows:

        Pursuant to this Court’s order of May 16, 2018, Plaintiff Fannie Mae hereby renews its

Motion for Summary Judgment, originally filed on January 23, 2017, at Docket # 125. The

Response to the Motion was filed on March 9, 2017, at Docket # 131. The Reply in Support of

Motion for Summary Judgment and the Rule 156 Statement were filed on March 30, 2017, at

Docket # 136 and 137, respectively.




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       Wherefore, Plaintiff Fannie Mae respectfully requests that this Court grant the Motion for

Summary Judgment, enter judgment in favor of Plaintiff and against Defendants George L.

Obradovich and Jennifer M. Obradovich, and for any further relief that this Court deems just.


                                     Respectfully submitted,

                                     FEDERAL NATIONAL MORTGAGE ASSOCIATION

                                     By: /s/ Rebecca M. R. Weininger
                                             Its counsel


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